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Dominick                                                                              Ž9ٟ̓ŧÀ§մٟ̎    21-83M
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         ˟çˠèQ ˡˢˣˤʽٟ ̮фǄC¦Â‫װ‬éٟ
                                                                       µ µ
        ̷×ٟ^;ٟy!ƦOٟͅm̰ƀïƀìٟş*ɾٟ]ٟ¨‫ؤ‬z˥À ٟ-ĈƢĪٟƧ2ٟcĀӟЂLЃٟ֡jωӛ¯VŖٟfՃٟ\ٟ͑ƙĭ,ɞƶٟžÂǳgđٟ ǜmăӹ3ٖd°ٟԛٟĐٟ( ‫ إ‬ɘɰǅٟ,Ⱦٟ@ňٟѢӺӻٗʱɽٟ̏
        ٟ͠ oٟ ͙b`ٟ͈Єյ֢ՄԜƔӠٟ͏ǆϋɀѰȦҏّΡȧόǆ̧ٟɀȧϮٟ'ĨٟǨ֣ŹѾ-ľٟ ȤǴ"ٟØ1ٟ ÎĀƣKٟŗٟĚӼٟŉõ].ƷŧĚ!Dٟ Ļŀ ö/­đȩǣÓٟ+ɱٟ ղťėəЅ˂ٟ 8ٟ
        ٟ͡✔oٟ ͚b`̨ٟՅȦϯٟ!‫ؿ‬3uj‫ׅ‬EٟƨŮٟ5±ٟϰ3Ǚ2ĮûκٟҐԝٟʍFāٟpÀ ؐ‫׆‬ٟɋхʺٟͶ250,000  ?                      ͷ ٟٟٔ@įEٟ
                e÷ʟÑǇ­ٟƩ‫م‬ٟ >ٟ ٟͬџȨ΢Ƚύ_ƕĞĝPٟնІLÎËÃ©ȌzٟŦ8"Řė-ÔٟӏÔØ#ϱٟ©$GaūٟTĨǃźɚٟƉٟ✔ ٟͭvaӽȖ Ù ֕ӡٟ֤ ٟĺ̉‫ׇ‬ĊٟƪЇHŬ˷ٟ
                                                                55d¯ u)mµ v6e fwµRµ=n>)>µ
       ͔ѿ²ٟſ(ßٟѡ6­ǵȭ¹ٟǩqÚٟÏ0ȍ ƖɲЈٟʘx¯ĽٟfҀЉٟƄÛĿƸٟëıԞû¿ґ'Ä:ٟ`цٟm!Ě{,Ŋǈٟ&ٟhǪ$ٟɛʤ Ľ֥Њٟ‫ش‬ǶԊԋٟÅ‫׈‬ٟU‫ن‬ٟŘǫ ĠŎ2Ȏʥ³ɳٟŁz+ŋɁĩqƫȏ‫ه‬ٟAɴɵؑշ ٟĊ ٟ
οɗЋ ľ ÊƳ4ٟĲǚٟď"ٟWǉǟćԟü į‫׉‬ٟ¥ÃǃźÐٟ=Ăٟ¸ć ؏ٟǚٟË5#ոٟɒā ŊԠŋٟ,ȱٟ‫ײ‬ٟώ1ĠԌʣÉҒŮæ̸ٟƇٟƁ̵ٟ͛m̶͕̳mٟ͆ïì̱ï̴ìٟ;ٟѣȖÌ‫ص‬ŉٟ̐
>ٟ✔oٟ ̊˸ٟ Ƈǫ.ٟý¸тÆ¡&ɿٟġ֦ؒٟĿ¯țΣғJٟٟ¢ÆXٟģTOٟ&ՆÜٟG#‫ئ‬ٟiF.ٟѤӾȗɂū¾ ѱٟ óŌٟä <»Ëʙٟ̪` ٟդ´֚ō½1ȩٟ̑ >ٟ✔ ٟ̽̈́|ŬٟƈӜٟŽ_O̜ٟ ٟ͢✔ٟͮ͂ԡѲٟ̹9IƚԢC˃ٟíƈ̝ٟ
                                                       Washington
          ٟͣ oٟí‫ض‬ٟ͟ ȋٟnAµ̞ٟ ٟ✔ٟͯíŭٟ̾ăչÕO̟ٟ >ٟ✔Ɗٟ˦˧ųQQ DC for court       ٟ٘ ĭüٟ(ΤŨZěٟʎ ٟ¢ȲٟǠ֔ĳȜٟŜ¼ŎٟëĴŤɛ×ٟ®ٟʀҁٟեպȝĒŢŢýٟ*(ǈÓŴٟ
>ٟ✔Ͱٟ ̋éٟ ͘ҍ|ٟDЌǛ¶ȬXΥԣʁٟĢťʂٟ‫ا‬ҔEٟIٟø Äf@ªfٟŬēʃFٟɿċٟ¸ӿȐ äҕJºٟɜdĴÅŕٟĵɝٟ3ԤÝǷ< $֧ٟ̒ ͸͹ͺ
                                                                                        co-cospirators
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                                                                                                                            Ə           of counselͽٟ;ٟ

           ͖Č³ٟϲЍĉćȪՁ‫׊‬ٟĥʚʄٟS‫ب‬ɃҖYٟTٟԥ×ٟºÌٟÙՇٟÅPٟчٟŞ]ǄٟіɑɁʭҗǤٟHÍϏƔÞȀ1Īɶٟ̓ƐƑ))))ñ?                                        ͿƏ         ٟ ٟ
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✔        »[ٟƹ[ǡ&ó<ٟԍؓLgٟʛ֖ÒǊīŀٟ*ȘԀٟƗ;LɓɄÒ9ٟ‫׋‬ĳٟîµ؄ҘrٟƅɡŨҙ«;ٟƨ‫و‬ٟƒƒ     1/25 ΁ٟpٟÃɂřٟU‫׌‬Φ^ÉٟĲʈǬǉŅٟɲ;ņŗ;ٟɅŁٟǿÅŗ֜Ƙ‫׽‬ՈԦιěٟ؅¤‫ة‬ǋӢٟY'ƭʙԙ!‫׍‬:ŵٟ
  ✔ ̌Ŷ       5 ٟϳ ǡԧΧ&ʅٟҚɷٟɓIƮ[WٟؔȫYǌ7ٟ‫׳‬³ٟōʜbЎɢŪқɰҜĶÇٟķшٟŚ»/ٟƃջ0ʖ^HٟǍŁŪǸ¬.Lٟ̣%ȬvůٟdؕBӕĄϐ‫׎‬ٟ‫׏‬ɆٟʅĊЏٟnАùҝӣٟžȭDҞśҟÈŏٟՉԨٟř5ǎٟռ}ʦս֨ٟSÇþٟ̔
        ✔    +ŵ Ĕɸٟe‫¨ؖ‬ӖúÞٟgɇٟłC`ȣٟũǹ֩Ҡʆ֪ٟB ʷٟAٟ͉ /؆ҡrӤٟƄ#8ʥǺv$:ٟўӒù"łٟTŜٟƺїƶ¡ʾŏٟŃ$ÕĘW¶ȮƯ!ٟ,Æǁ̇(ٟզĜ«ǇٟÍщٟ‫ط‬Պվӝ̠
        
        ✔      ƪŶ ģ‫ؗ‬ŐhٟÑ$Ջɪʋٟٟ✔ Ɗٟ@MٟÒϑʇ®ٟπ‫ى‬ٟƃÑ3ʖҢٟnǌ7ʪңøǏMٟտٟRٟ oٟǻ&ٟէ³ɞ֫ĴȯٟٙÙĒĢБőٟրٟ΂΃΄ٟ ƟՀEŻ ɠٟ ٟͤ ͱٟƦŰٟ‫א‬ӥ[ɔȰ ΅ٟ‫׾‬Ȟɷٟb2ɘٟΆñ·
       ٟͩ ӫ    w˹ Ԏ‫ؘ‬9‫ב‬ٟĨƻ %ٟٟ ðٟ‫ג‬В֬ Âѳ˄ٟ ٟͥ ٟ̿ $ʤrIʢóĔ1ԩٟȼŻĹKٟRٟ Ǝٟ iɭГtáȟ-ٟѥɟٟŒN¨֭ʈ¦6ú$ٟ§‫;ؙ‬Д˅ٟĔİϭğʝҤ%ٟ+ğƲɈċɉH_ŊԏˆٟɺٟXǻɠyª[Dٟρʲٟ͍Еɚҥ Ӧٟy7ʩҦư2ɳ˺
             ŷ ȝʞœʉٟN&®°%'ٟ4‫ت‬ӧʝŖĶÇٟCٟ‫ד‬ɡqÜȜЖĬٟѦɢٟȟ4ÈßΨٟ҂´ôGã]ٟɖ(ςǏԐŔˇٟôٟ֮EӑKƴfٟσkٟ͊Ņ±؋^¦ĜٟƆЗÒʨҧ¬ǎŔ˻
       ٟͪ Ӭ    ~˼ Ҩ9ٟ ֯ʟϊИƱٟŝՌٟř҃"ٟѧHԁՍʮǼȱѴٟȐɊwǺՎȲٟĽÖ؇ĕu‫ ¾ה‬ȳٟł1ѻԑٟäҩŞٟĝՏuƙ‫׿‬ԪٟĤJę‫ו‬ĸցǼȴѵˈٟɹٟEҪɣ}ª=Ƽٟ§kٟ͎#‫ז‬c½¡Țٟną֘‫ز‬ȅøǐְ̕
                  ƋٟՐĥǔٟ ÷ľϒ8‫؀‬ȵ̖ٟЙÔ،Ưʊ ٟ‫ח‬ٟ҄Ƞ ٟٟƕĞԂٟÛҫȞǐŐˉٟā‫ـ‬ϓɕşٟǟĺɤٟƚh֝ ʳٟũȉֱҬʊɱˊٟϔ‫ؚ‬ÏʐٟÎĆŇÇwŎٟλDٟȶ#ϕК+ɜåٟĦЛϴĖϖΩӨٟ؈МA=ĦǊԫâ̡
               ٟͦ ðٟ҅Ɉġ ٟǀ#ǗgǽՑ̗ٟ ɥ.ֲ7^ϗ‫ ט‬ٟÝ ٟčȡ{ٟ£‫י‬ٟΪȗȘٟŠҭħˋٟ‫ف‬õ3ٟĺKٟ¤<á'֞·Űٟ‫ث‬ɴǾʁœæٟϘʞʉٟƛըɖ"tņƠϙ4ֳˌٟÀDȁϚٟ؉°‫؂‬Ԭʋˍٟ RْٟٟɥǑȔǥɋٟe"7ʧҮϛ±Ōˎٟ
                    ٟͧ ƋٟħթӗȢ ĭ‫ˏך‬ٟ ٟ ƌٟMV5ıՒĞٟaٟʗ¥_ԭ¿6%ːٟRٟ ƍՓŠďНւٟƱšŨǿg/Mٟժ ɍʧ2Yٟτ‫ي‬ٟîɦО‫؍‬ȂSٟǖɧʦүV-dˑٟ Rٟ Ͳٟ ò              ٟ
                                                                                                                                           Έ
       Ɖٟ ͳٟ   Ϝ‫آ‬ј‫̘ظ‬ٟ փ ňʆ đϝ‫כ‬ПÿٟɌٟ҆ ģǒٟ‫(ج‬kٟϵƜًٟѬȢٟ ΉƓ Ɠ               Ίٟ ʌٟ ò΋Όٟ æٟ7ٟ ٟͨ ƌٟ*:ٟ¾Ň0Ϟ<ZƺٟUPٟ͋ɧ·hɯȊ+ȑٟn֠Ұϟ;ŷ
       >ٟ ƍٟ   ̯ǅǢÄCJ‫ל‬ٟĠʠִʍ̢ٟٟ͌̀+ԃԄٟɝٟÎs8ٟķъٟ‫״‬РٟõɍŕşٟՔыٟ ȷåٟք ճ‫؛‬ұɨ{Xٟ=|Óàǵȷǥűٟʨsөʡ,ŘȀ ԮŲٟ؊ Ɲ‫؃‬ԯʎٟ£ȸ϶Ź`ٟȒɐϠAŚē1ÆٟԒıȹʏՕǸǦٟʯҲʒٟĻօeՖ԰@IٟǠ‫؟‬ȺƽŔ˒ٟ
               B£ɺСxٟʢ &ٟ¦BĖӪǳOٟٓ‫'ם‬ٟիƘOٟAőٟ ý~‫֛מ‬Ӕ/ƾٟ§ůٟ‫ן‬ǪТٟë՗‫֗؜‬ʔٟΫīٟʕٟîń ؎ȓٟ͒{ŪҳϡǍ:ٟê%·Vٌ˓ٟAẌٟ ŃٟѭÍԓٟάʩ¤ҴȔ¡©IzٟȁÉֵ‫أ‬VУ˽ٟ
>ٟ✔ðٟ ̍˾ٟ ͇àĎɩٟ̫ȂҵĲֶ̙ٟ Do not participate in any political rallies, gatherings or social media exchanges.
                             ̮ ٟ ‫װ‬ٟ‫װ‬մٟ‫װ‬5ٟ͚Ґ‫װ‬Cٟ‫װ¦װ‬ɽٟë¦bҐ‫ װ‬Ӻٟ մٟ¦Ůٟɽ‫װ¦װ‬ٟu¦bҐ‫ װ‬Ӻɽ
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̺˔ٟ‫׵‬ǒٟNϷ-cň_Ѷ0ûٟ®ФǢϸȻŖ˕ٟȻDٟƞ«»ٟɼʛKµʴٟŭǬٟҶ9ٟh\ҷŒٟB՘Y˜ٟέuȋȵɎ‫ع‬ӭХϹѷ ٟÞĎßٟ̻ٟ¼ή‫ح‬Ǔ˿ ٟֆ2TǂٟâFǷ9ٟ̤ɕɔǔɬ ȳƵٟ̩ȮYٟ,Ųٟμٟ҇ίʪЦٟ´Ҹ‫׶‬ĆÐٟ °tƿٟΰԅٟ
‫[׷‬ٟÞǮ#ŅٟϢԱЁàǹɇJeٟËьٟ ԆSٟ8ٟď‫خ‬Zٟǭ*ƽٟ\'ɸĂٟƲԲƹҹǴÉÔٟ‫ق‬լĜ¢ҺJ²ٟ̀ƁٟѯčևٟƟϣӞɌäсϺ%ЧٟŝFôٟƂٟ īCٟÁʴٟbZ7ĵÈ Gٟņу ɪ·ŕ<Ơ‫˖ַد؁‬ٟӘՙһʳٟȹþٟ
ɹ‫֙~ذ‬HHůűٟƝɨٟυ ‫؝‬Գϻٟʌٟխʵٟŝ¼4ٟ͜ȸĕ‫נ‬Ǖٟƅʇ*ǖٟɊǜٟ̥ȣǗֈȃϤơٟ‫!҈ס‬ٟMŦԔٟэʻ΍    ́ 250,000
                                                                           ٚ˨ç˩             ٟٛĪϼٟÜ5@Ûٟ‫ע‬ǮҼָٟUӮѸ,ŢǽĶ6ٟ¿9ٟ ֹĆwʚ֒¶üٟʯҽàҎٟʂ5ٟB0ӯʰ
ėԴ..ʃٟԵٟÝٟѨԇșɎŭĘȶºٟɒ ĸļĄcPٟˀʸ̬ȌȏÜШɮηӰʹˁٟʮǯȄϥǰٟƂٟ /ծɫ ±Զ‫ף‬ٟҾֺ̆ ɦЩٟѮµЪٟƢǀٟvȑSɤٟaĈ ȓҿ#ԷŌٟ0‫ك‬w4śٟƤֻٟi!c‫ؽ‬ӀÓٟȅĮWӁϦ£‫פ‬ЫXٟ̚
          ʹٟϧ :Đٟy1ŒӂÚǓٟӃԸٟ<FЬٟ͐.%ÕʗPٟǝٟٟſɆʡšٟӄԹٟá ٟŐ‫ؠ‬ȡٟĈʼ̂Ɛ
                                                                      ٟ ?)))ƑñΎٟٜٟ
       ✔  ͵ٟ
      Rٟ Ň ĥȆɻ¯ɻٟȕƳsʀ.ٟ*ʄ̛ٟΏ2                                         , NJ
                                                                         ?  Εٟ ̃՚‫ &غ‬ƸٟUٍٟ         l M dola & J                 n a   ΜΝΞ?ٟΟٟ
      ٟͫ✔ Ǝٟ̼ٟαȍőĸٟ Ǧɫ-"ٟŚٟ$‫ل‬ąuʘ<        eӅȼ    NE Ƞ         ĹKɾºqǣ ٟȚӐĄٟ ȆԺٟѩɮġٟƣļ֓ ʬzCٟƫʲٟʓĐЮٟ̄͝ƆŴٟêÙãĳ֟ЯPٟūǰӆö           șӱٟφ0ٟϽjӲَٟѠG4ٟʰ¿]ٟʐҊăٟ
      ļÏկ38ٟƴƜȎٟνٟ ּßgǑٟTNi\ ^‫ץ‬Ė!:ٟɏٟ'Ïٟ©аɣбٝ  1/29/21
                                                          ˪˫QQ   è                 ˬç˭ ˮ             è˯
̲Ƥưٟa‫س‬Ԛ։ٟ՛Ǟٟʕٟqχ1ʫٟ̭ɏԈȕ+Ş2ɯٟǧ8!"ɶٟ6Ìٟ=՜ٟLǋGȒٟF²ٟ(ɗ}(áå˗ٟƛI՝ʭٟю‫ء‬šǩвKٟVĝĕÁÖٟɐɬٟгԻúÁƬ pȨϨĀֽٟٟƩ}ٟȤrǘٟpѺSǶȰÕâٟӇʑ˘ٟĹ֊ٟĵٟξُʔēȯǤٟ'ٟ
(´Wjö4ٟ¾Ú‫־‬ٟʫβěŤ$ٟ‫ػ‬Ǳӳ|ٟŠĎ½Öٟ̦հńsÄϩдٟżįٟ :ٟӈٟ/ѝ"vśŸٟ
     5ӉɵٟêĻձĿθʿȺ¬ ٟżԼxٟԖʶٟBеٟ֋љ½Ŝ Ƽٟӊяٟ×Č ٟZњİãٟƥӋӴٟ‫צ‬ٟϪķĤbӵPٟ‫ؾ‬ÝǨٟγȽkٟѐٟ‫ק‬Ǳ/ٟªȾƾȇ‫ר‬ę6ֿٟŏʏٟѪ֌‫׸‬ٟδψ՞‫ر‬ٟtȴǁٟٟċжٟ
ɟʬ|֍ō~ٟ̅ ǲ0ٟϾзћ6xÊţٟrþٟpOٟ‫׀‬ʜ֎ą‫ױ‬Űٟ‫ؼ‬ҋ՟ٟ\+ŉׁٟǾѼÿٟʑҌȇŋٟѫĤٟtӶMٟ%ɩи~ٟǯ‫ש‬ٟ‫׹‬ٟϫ'ŧ֏ٟԗεŮٟȈԘĢ Ȉʒ-kٟɅcǂ ֐ٟÛ¼йٟƖħʠ=ٟǞٟ‫ ׺‬ٟƬɉԽٟdŤŃ кȿлÐyƷٟ
‫ ת‬ٟČ¶ٟ͞ȫȉ‫׫‬0Ͽٟ͓ÚsĂÖ˙ٟȄÂ«ԉʣÿӌ6¹ٟζJِٟMϬj ĒØkٟ¸ɑ ٟ]#ٟUԾЀ˚ٟӍёٟ‫׻‬ٟƻќx*ĩٟђƥęGׂٟãՠٟùÌÁӷʶٟʱȊ=ٟ‫׼‬мٟơƧaũ-ٟƞѽноȥÃţéٟ͗ǘٟ÷աťəٟȥ¢ʷٟ,ӸLբٟÍÐп ٟ*ٟ
Ӛ‫؞‬¹ĦрÊ‫׬‬ٟɄѓٟĉ7Ǚ _jɭǕٟ¥ǧ¤ӓĩœţٟf\ ٟє&­¥Įٟ ՂWٟ %İ‫׭׃‬ٟƵǲٟׄNÑ3âåٟĉ֑ٟi²ٟ/ȿ=ȃńٟƗțNĬ‫׮‬ٟɃѕٟičZٟ¨գȪ˛ٟӎԿƭğŦƿ¹ٟÊʵٟĘÈ‫}{ׯ‬dʓٟĬٟƮ ØɽŸٟ
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